, M@N§: 04- -c\/- -01258- .]DT- STA Document 31 Filed 08/23/05 Page 1 of 3 Page|D 22

-§O\A P/<é`[)

%\`()S iN THE uN\TEo sTATEs oisTRlcT couRT 0540 \
\ FoR THE WEsTERN olsTRicT oF TENNEssEE 633
EAs'rERN ol\/lsloN

UN|TED STATES OF AMER|CA,

 

P|aintiff,

v. C|\/|L ACT|ON NO. ‘1-04-‘| 258

JURY DEMANDED
45.50 ACRES OF LAND, MORE OR

LE'SS, SlTUATED lN G|BSON COUNTY,
TENNESSEE; and |V|ARTHA GREEN
THOMAS, ROBERT GREEN, M|LAN
PUBLlC UTlLlTlES, C|TY OF |V||LAN,
JEFF SMlTH, FLOYD FLlPF’lN,
TENNESSEE ATTORNEY GENERAL
AND ALL OTHER UNKNOWN PARTlES,

Defendant.

 

AGREED ORDER ON CONSENT MOT|ON TO PAY OUT DEPOSITED FUNDS TO
DEFENDANT |VIARTHA GREEN THO|V|AS

 

This matter came to be heard before the court on Motlon of Defendant Nlartha Green
Thomas, With consent of the P|aintiff’s attorney Gary Vanasek, for an Order direct from the clerk
to pay out certain funds deposited with the clerk as payment to Defendant Green for
compensation in this condemnation action, pursuant to Fed. R. Civ. P. 71A(j). lt appears to the
court this Nlotion should be granted lt is, therefore,

ORDERED, ADJUDGED AND DECREED, that the clerk should pay the funds deposited
by the P|aintiff to Defendant Martha Green Thomas at the office of her attorney, Floyd S. F|ippin,

P. O. Box 160, Humboldt, Tennessee 38343.

Emer this the 1_3 day of _QAQ§M),DS.
23 . M

Ja s Todd, District Judge

Thts document entered on the docket e £lj> nance
with Rule 58 and!or.79 (a) FRCP on

04_@§1§€ 1:04-cv-01258-.]DT-STA Document 31 Filed 08/23/05 Page 2 of 3 Page|D 23

APPRO\/ED FOR ENTRY.

Gary Vanas§k BPR#004675
Assistant United States Attorney
167 N. |V|ain

B“‘ Floor

N\emphis, TN 38103

`(Z"' f/¢> ' / 5¢`»-1f5”`~}¢ / fin :t_ {{{L E\jrf,)i,l@) /‘// flu/gu g H` § fix bL}

“,, _____

i"~"€éf; (/‘>M~~\ )/l/'
F\oyd S. Fiippin- BPR#010442

Pau| Con|ey ||| - BPR#021857

Attorney for Defendants Martha Green Thc)mas
FL|PP|N & ATK\NS P.C.

P.O. Bo>< 160

Humbo|dt, TN 38343

(731) 784-2818

 

DISTRICT oURT - WESTENR D"ISRICT oF TNNESSEE

Notice of Distribution

This notice confirms a copy of the document docketed as number 31 in
case 1:04-CV-01258 Was distributed by faX, mail, or direct printing on
August 24, 2005 to the parties listed.

 

Floyd S. Flippin

FLIPPIN & ATKINS7 P.C.
1302 Main St.

P.O. Box 160

Humboldt7 TN 38343

Gary A. Vanasek

U.S. ATTORNEY'S OFFICE
167 N. Main St.

Ste. 800

1\/lemphis7 TN 38103

Honorable J ames Todd
US DISTRICT COURT

